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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 UNITED STATES OF AMERICA                :             S8: 19cr463 (DLC)
                                         :
                -v-                      :                    ORDER
                                         :
 ZALMUND ZIRKIND,                        :
                                         :
                          Defendant.     :
                                         :
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DENISE COTE, District Judge:

     This Order addresses four letters and related documents

sent to the Court in connection with the defendant’s sentencing

proceeding scheduled for January 15, 2021.

     On January 4, 2021, the defendant filed a letter requesting

permission to file his “medical and related reports” (“Medical

Reports”), which are referenced in the Presentence Investigation

Report, under seal.      The defendant did not provide the Court

with a copy of the Medical Reports, however.          It is hereby

     ORDERED that the request is granted.

     On January 5, the defendant filed a letter requesting that

three character letters (“Character Letters”) be filed under

seal.    The defendant did not provide the Court with a copy of

the Character Letters.       To the extent that they principally

contain information that may be redacted pursuant to Section 21

of the S.D.N.Y. Electronic Case Filing Rules and Instructions,

as described in the Order of January 4, then it is hereby
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     ORDERED that the Character Letters may be filed under seal.

Otherwise, they should be filed in redacted form on ECF and the

unredacted copy sent to the Court’s Chambers email address.

     On January 5, the defendant sent to the Chambers email

address a letter describing four categories of information that

he has redacted from his sentencing submissions.            It is hereby

     ORDERED that the January 5 letter shall be filed in

redacted form on ECF.       The defendant may redact the description

of the fourth category from the ECF-filed letter.

     On January 8, the defendant sent to the Chambers email

address a letter listing five medical record documents and one

IEP (“Third-Party Medical Records”).          The defendant requested

that the Third-Party Medical Records be filed under seal.                 It is

hereby

     ORDERED that this January 8 letter and the Third-Party

Medical Records shall be filed under seal.

     IT IS FURTHER ORDERED that the defendant shall submit a

copy of the Medical Reports to the Chambers email address.                The

defendant is reminded to follow the instructions set forth in

the Court’s Order of January 4.




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     IT IS FURTHER ORDERED that the defendant must provide

complete copies of all submissions to the Government.

Dated:       New York, New York
             January 11, 2021


                                     ____________________________
                                              DENISE COTE
                                     United States District Judge




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